
*1158FINDINGS OF FACT.
The taxpayer is a physician residing at Oklahoma City, Okla., and is a member of the partnership of Lain &amp; Roland, who are engaged in the practice of medicine, specializing in the treatment of cancers and skin diseases.
The partnership to a large extent secures its patients through acquaintances in the medical profession who are general practitioners •or specialists in other lines of medicine, and who send to the partnership patients in need of the particular kind of service that the partnership renders. Such acquaintances in the profession are made by the partners by attending meetings and conventions of medical societies.
The taxpayer and his partner attended medical conventions in 1920 and 1921.

The deficiency is $69.IS. Order will be entered accordingly.

